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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    ENRIQUE CORRETJER,

          Plaintiff,
    v.                                                   CASE NO.: 6:17-cv-01746-ACC-DCI

     DIRECTV, LLC,

          Defendant.
                                                    /

                                      AMENDED COMPLAINT

         1.      “Robocalls” are the #1 consumer complaint in America today.

         2.      In 2016, there were almost 4,000,000 complaints reported to the Federal

Communications Commission (FCC) and the Federal Trade Commission (FTC) concerning

robocalls—3,857,627 to be exact.1 In 2015 and 2014, the robocall complaints reached 2,636,477

and 1,949,603, respectively.2       It is important to recognize these merely reflect the number of

individuals that complained to these agencies; the number of people that have been victimized by

robocalling abuse could be close to 100,000,000 in the last 3 years.


1
  National Do Not Call Registry Data Book FY 2016, October 1, 2015 – September 30, 2016, FEDERAL TRADE
COMMISSION (Dec. 2016), https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data-
book-fiscal-year-2016/dnc_data_book_fy_2016_post.pdf; Consumer Complaints Data – Unwanted Calls, FCC –
Open Data, FEDERAL COMMUNICATIONS COMMISSION, https://opendata.fcc.gov/Consumer-and-Government-
Affairs/Consumer-Complaints-Data-Unwanted-Calls/vakf-fz8e.
2
   National Do Not Call Registry Data Book FY 2015, FEDERAL TRADE COMMISSION (Nov. 2015),
https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data-book-fiscal-year-
2015/dncdatabookfy2015.pdf; Consumer Complaints Data – Unwanted Calls, FCC – Open Data, FEDERAL
COMMUNICATIONS          COMMISSION,        https://opendata.fcc.gov/Consumer-and-Government-Affairs/Consumer-
Complaints-Data-Unwanted-Calls/vakf-fz8e; Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, FEDERAL COMMUNICATIONS COMMISSION,
https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf; National Do Not Call Registry Data Book FY
2014, FEDERAL TRADE COMMISSION (Nov. 2014), https://www.ftc.gov/system/files/documents/reports/national-do-
not-call-registry-data-book-fiscal-year-2014/dncdatabookfy2014.pdf.
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         3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

years ago, robocall abuse continues to skyrocket.

         4.    Plaintiff, Enrique Corretjer, alleges Defendant, DIRECTV, LLC, robocalled him

more than 30 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

(“FCCPA”).

         5.    Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

Consumer Protection, Federal Trade Commission).

         6.    The TCPA was enacted to prevent companies like DIRECTV, LLC, from invading

American citizens’ privacy and prevent illegal robocalls.

         7.    Congress enacted the TCPA to prevent real harm. Congress found that "automated

or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

decided that "banning" such calls made without consent was "the only effective means of

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protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

         8.    According to findings by the FCC—the agency Congress vested with authority to

issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.

                                 JURISDICTION AND VENUE

         9.    Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

         10.   The alleged violations described in the Complaint occurred while Plaintiff was in

Deltona, Florida.

                                  FACTUAL ALLEGATIONS

         11.   Plaintiff is a natural person, and citizen of the State of Florida, residing in Deltona,

Florida.

         12.   Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         13.   Plaintiff is an “alleged debtor.”

         14.   Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

         15.   Defendant is a “debt collector” as defined by Florida Statute § 559.55(7).



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         16.    The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida Statute § 559.55(6).

         17.    Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(386) 215-1583.

         18.    Plaintiff was the “called party” during each phone call subject to this lawsuit.

         19.    Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

         20.    In or about January 2017, Plaintiff received a telephone call to his aforementioned

cellular telephone number from Defendant seeking to recover a debt from the Plaintiff.

Immediately upon receipt of the calls, in January 2017, Plaintiff answered a call from Defendant

and explained that he felt harassed by all of the calls, and demanded that Defendant stop calling

his aforementioned cellular telephone number. A representative of Defendant responded by

saying, “We are gonna keep harassing you until you pay the bill and we will make sure to mess up

your credit”.

         21.    In or about January 2017, during the aforementioned phone conversation with

Defendant’s agent/representative, Plaintiff expressly revoked any express consent Defendant may

have mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned

cellular telephone number by the use of an ATDS or a pre-recorded or artificial voice.

         22.    Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

         23.    Defendant made at least one call to (386) 215-1583.




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         24.    Defendant made at least one call to (386) 215-1583 using an “automatic telephone

dialing system” (ATDS).

         25.    Defendant made at least ten (10) calls to (386) 215-1583.

         26.    Defendant made at least ten (10) calls to (386) 215-1583 using an ATDS.

         27.    Defendant made at least twenty (20) calls to (386) 215-1583.

         28.    Defendant made at least twenty (20) calls to (386) 215-1583 using an ATDS.

         29.    Defendant made at least thirty (30) calls to (386) 215-1583 using an ATDS.

         30.    Defendant made at least thirty (30) calls to (386) 215-1583.

         31.    Each call the Defendant made to (386) 215-1583 in the last four years was made

using ATDS.

         32.    Each call the Defendant made to the Plaintiff’s cell phone was done so without the

“express permission” of the Plaintiff.

         33.    Each call the Defendant made to the Plaintiff was made using an ATDS, which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).

         34.    Furthermore, many of the calls at issue were placed by the Defendant using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

         35.    Plaintiff repeatedly requested the Defendant to stop calling his cell phone, however,

the Defendant continued to make calls

         36.    Plaintiff’s conversations with the Defendant demanding an end to the harassment

were ignored.




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         37.   Defendant has made approximately thirty (30) calls to Plaintiff’s aforementioned

cellular telephone number from in or about January of 2017 until today, which will be established

exactly once Defendant turns over their dialer records.

         38.   Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abusive robocalls.

         39.   Defendant has been sued in federal court where the allegations include: calling an

individual using an ATDS after the individual asked for the calls to stop.

         40.   By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

         41.   Defendant’s aggravating and annoying phone calls trespassed upon and interfered

with Plaintiff’s rights and interests in her or his cellular telephone and cellular telephone line, by

intruding upon Plaintiff’s seclusion.

         42.   Defendant’s phone calls harmed Plaintiff by wasting his time.

         43.   Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

battery life on her or his cellular telephone, and by using minutes allocated to Plaintiff by her or

his cellular telephone service provider.

         44.   Defendant’s corporate policy and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have mistakenly believed it had.

         45.   Defendant’s, corporate policy and procedures provided no means for the Plaintiff

to have her or his aforementioned cellular number removed from the call list.

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         46.   Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

voice message to collect debts from individuals such as Plaintiff for its financial benefit.

         47.   Plaintiff expressly revoked any consent Defendant may have mistakenly believed

it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

calls.

         48.   Defendant never had the Plaintiff’s express consent for placement of telephone calls

to her or his aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

voice.

         49.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         50.   Defendant violated the TCPA with respect to the Plaintiff.

         51.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                            COUNT I
                                     (Violation of the TCPA)

         52.   Plaintiff incorporates Paragraphs one (1) through fifty-one (51).

         53.   Defendant willfully violated the TCPA with respect to the Plaintiff each time they

called the Plaintiff after she or he revoked her or his consent to being called by them using an

ATDS or pre-recorded voice.

         54.   Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff revoked her or his

consent to being called by them using an ATDS or pre-recorded voice.

         55.   Defendant, DIRECTV, LLC, repeatedly placed non-emergency telephone calls to

the wireless telephone number of Plaintiff using an automatic telephone dialing system or
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prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal law,

including 47 U.S.C § 227(b)(1)(A)(iii).

         56.    As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.

         57.    Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

DIRECTV, LLC, from violating the TCPA in the future.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

         58.    Plaintiff incorporates Paragraphs one (1) through fifty-one (51). At all times

relevant to this action Defendant is subject to and must abide by the law of Florida, including

Florida Statute § 559.72.

         59.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.

         60.    Defendant has violated Florida Statute § 559.72(7) by willfully engaging in conduct

which can reasonably be expected to abuse or harass the debtor or any member of her or his family.

         61.    Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

when Defendant knows that the debt is not legitimate or assert the existence of some legal right

when Defendant knows that right does not exist.


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         62.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

                                           COUNT III
                                    (Violation of the FDCPA)

         63.    Plaintiff incorporates Paragraphs one (1) through fifty-one (51).

         64.    At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

         65.    Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse

any person in connection with the collection of a debt.

         66.    Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy, abuse, or harass any person at the called number.

         67.    Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

using unfair and unconscionable means to collect or attempt to collect any debt.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.




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                                   Respectfully submitted,


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